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                                         UNITED STATES DISTRICT
                                       COURT SOUTHERN DISTRICT
                                        OF FLORIDA MIAMI DIVISION
                                     CASE NO.: 22-cv-22538-ALTMAN/REID

      PIERCE ROBERTSON, et al., on
      behalf of himself and others similarly
      situated,

             Plaintiffs,

      v.
      MARK CUBAN, et al.,

               Defendants.
                                                    /

           PLAINTIFFS’ BRIEF REPLY IN SUPPORT OF EXPEDITED MOTION TO
                 SUBSTITUTE ADDITIONAL CLASS REPRESENTATIVES
            Nothing in this case has been easy. Even after the Court ruled that Plaintiffs have until
  February 24th to amend their Complaint, although every federal reported decision on adding and/or
  substituting class representatives allows such procedures even years into the litigation, both pre- 1 and
  post-certification and even just prior to trial, and even after Defendants already replaced their Counsel,
  they still somehow “oppose,” or at least exploit the opportunity to make personal attacks, instead of
  just agreeing to this routine procedure. 2
            First, Defendants concede that they have no basis to oppose the substitution of Plaintiff Mr.
  Gold, given his recent severe medical issues with cancer. See ECF No. 82 at 2 (“Defendants have no
  objection to Mr. Gold withdrawing as a plaintiff in this case.”). 3




  1See, e.g., Hall, et al. v. Bank of America, et. al, Case No. 1:12-cv-22700-FAM, ECF No. 233 (S.D. Fla. July 16,
  2013) (granting motion to substitute class representatives pre-certification).
  2 Defendants know Undersigned Counsel represent hundreds of injured plaintiffs from across the country,
  including many in Florida, thus have no shortage of adding plaintiffs when requested.
  3 Plaintiffs filed this Motion on an expedited basis because Defendants indicated they would even refuse to
  allow Mr. Gold to be substituted out and would still attempt to force him to sit for deposition on January 24th,
  ignoring his dire medical situation. Rachel Gold is of course, still proceeding with her claim as a class
  representative Plaintiff, and will certainly explain when appropriate how Defendants are wrong, and that she
  has standing (like all of the other plaintiff representatives) to assert all of these uniform and certifiable claims.
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          Second, they admit that the decision whether to grant an Amended Complaint (that will not
  take place until February 24th, due solely to Defendants’ discovery delays), is a decision squarely within
  this Court’s discretion. See id. at 8.
          Put simply, how could adding Class Plaintiffs Ms. Mayrand and Mr. Karnas now, and having
  them produce all their discovery and be available for deposition, be “improper”?
          The main reason Plaintiffs’ request at this early stage to join Ms. Mayrand and Mr. Karnas is to
  avoid Defendants’ claim of prejudice if they were to be joined through an amended complaint on
  February 24th without Defendants having deposed them or reviewed their documents along with the
  other Florida-based Plaintiffs. This was made very clear to Magistrate Judge Reid. 4 Defendants wholly
  fail to dispute and refuse to acknowledge these two additional representatives are available for
  deposition on January 30th and 31st, and have even gone as far as “destroying” the responsive
  documents that Ms. Mayrand and Mr. Karnas produced. See Mot., Ex. C.
          In a simple attempt at misdirection, and a repeat of their failed arguments to stay all discovery,
  Defendants argue (just weeks before Mr. Cuban and Mr. Ehrlich are finally set to be deposed): (1) the
  case should be immediately dismissed for lack of jurisdiction (illogically, prior to any hearing on any
  Motion to Dismiss), and (2) the Court should reconsider its denial of Defendants’ motion to stay
  discovery, this time claiming that Plaintiffs seek an “end run” around the requirements of the PSLRA,
  based on another litigation against Voyager’s executives in the Southern District of New York.
          Defendants’ position puts on full display their myopic view of the Complaint and erroneous
  misunderstanding of the law on jurisdiction. Their entire silly argument hinges on a distortion of a
  demonstrative statement Plaintiffs made in their motion, namely that “Not only will Plaintiffs show (at
  the appropriate hearing on a motion to dismiss) that every named plaintiff has standing to assert these
  claims on a class basis, in the event Plaintiffs amend the complaint to include additional allegations and
  claims, such as a federal securities claim for substantially participating in the offer or sale of
  unregistered securities, like the one already included in [their pending first case of] Cassidy v. Voyager




  4See, e.g., ECF No.82-7 at 8 (“We agreed at the hearing with Magistrate [Judge] Reid to start providing these
  dates in January (due to the holidays) for the existing Florida plaintiffs and those 2 (from just Florida) that we
  discussed and will be adding to all of the other class representatives by interlineation and/or in our first
  amended complaint. We are producing them now so that you have no prejudice”).


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  Digital, Ltd., No. 1:21-cv-24441, . . . the residence of any of our hundreds of injured Voyager clients
  will have absolutely no relevance to jurisdiction in this matter.” Mot., at 3 (emphasis added). 5
           The Court has repeatedly ordered all Parties to submit all discovery—without limitation—in
  advance of the February 24th deadline. Until that discovery is completed (Plaintiffs are now required
  to bring to Magistrate Judge Reid a third Motion to Compel compliance with her discovery rulings), it
  is premature for Plaintiffs to state whether they are amending any of the claims in the Complaint
  (which could include any number of federal questions depending on the information obtained in
  discovery) or standing on the complaint and responding to the motion to dismiss. Plaintiffs are simply
  working to ensure that they comply with the Court’s instruction and deadlines, including that the
  Florida-based Plaintiffs be prioritized for discovery in advance of that deadline.
           Given that Defendants have fought so hard to pretend that Ms. Mayrand and Mr. Karnas do
  not exist, under the mistaken assumption that the Court cannot allow them to join, Plaintiffs
  respectfully request the Court disabuse Defendants of that erroneous belief, and simply rule that these
  2 additional plaintiff representatives can now join this case, so Defendants cannot claim prejudice
  later.
                                                CONCLUSION
           Plaintiffs respectfully request the Court grant this Motion and enter the proposed Order
  attached to the Motion as Exhibit A, or in such other form as the Court deems appropriate,
  substituting out Sanford Gold and joining Linda Mayrand and Dominik Karnas as additional putative
  class representatives, together with such other and further relief as the Court deems just, equitable,
  and proper.




  5 This is why to even raise this argument, Defendants needed to cut out the majority of the statement so that it
  fit their false narrative. See ECF No. 82 at 10 (“See Motion at 3 (intimating that Plaintiffs will amend complaint
  “to include additional allegations and claims, such as a federal securities claim”)) (emphasis added).


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  Dated: January 18, 2023                                 Respectfully submitted,

                                                        By: /s/ Adam Moskowitz
                                                        Adam M. Moskowitz
                                                        Florida Bar No. 984280
                                                        adam@moskowitz-law.com
                                                        Joseph M. Kaye
                                                        Florida Bar No. 117520
                                                        joseph@moskowitz-law.com
                                                        Howard M. Bushman
                                                        Florida Bar No. 0364230
                                                        howard@moskowitz-law.com
                                                        Barbara C. Lewis
                                                        barbara@moskowitz-law.com
                                                        Florida Bar No. 118114
                                                        THE MOSKOWITZ LAW FIRM, PLLC
                                                        2 Alhambra Plaza, Suite 601
                                                        Coral Gables, FL 33134
                                                        Telephone: (305) 740-1423

                                                        By: /s/ David Boies
                                                        David Boies
                                                        (Admitted Pro Hac Vice)
                                                        BOIES SCHILLER FLEXNER LLP
                                                        333 Main Street
                                                        Armonk, NY 10504
                                                        Phone: (914) 749–8200
                                                        dboies@bsfllp.com

                                                        By: /s/ Stephen Neal Zack
                                                        Stephen Neal Zack
                                                        Florida Bar No. 145215
                                                        BOIES SCHILLER FLEXNER LLP
                                                        100 SE 2nd St., Suite 2800
                                                        Miami, FL 33131
                                                        Office: 305-539-8400
                                                        szack@bsfllp.com
                                                        uungaro@bsfllp.com

                                                        Co-Counsel for Plaintiffs and the Class

                                   CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the forgoing was filed on January 18, 2023, via
  the Court’s CM/ECF system, which will send notification of such filing to all attorneys of record.
                                                          By: /s/ Adam M. Moskowitz______
                                                                  ADAM M. MOSKOWITZ


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